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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI

ERIC D. ROTH, JR.             )
                              )
     Plaintiff,               )
                              )                    Cause No.
vs.                           )
                              )
NATIONAL CREDIT SYSTEMS, INC. )
                              )
and                           )                    JURY TRIAL DEMANDED
                              )
SIMONE SMITH,                 )
                              )
     Defendants.              )

         COMPLAINT FOR VIOLATIONS OF FAIR DEBT COLLECTION PRACTICES
                                 ACT

        This is an action for actual and statutory damages brought by Plaintiff, Eric D. Roth, Jr.,

an individual consumer, against Defendant, National Credit Systems, Inc., for violations of the

Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”), which

prohibits debt collectors from engaging in abusive, deceptive, and unfair practices.

        1. Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1337.

Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202. Venue in this District is

proper in that the Defendants transact business here and the conduct complained of occurred here.

        2. Plaintiff, Eric D. Roth, Jr., is a natural person residing in Crystal City, Jefferson

County, Missouri.

        3. Defendant, National Credit Systems, Inc., is a Georgia corporation engaged in the

business of collecting debt in this state with its principal place of business located at P.O. Box

312125 Atlanta, Georgia 31131. The principal purpose of Defendant is the collection of debts in

this State and Defendant regularly attempts to collect debts alleged to be due to another.

        4. Defendant, Simone Smith, is a natural person employed by Defendant, National Credit

Systems, Inc. as a collector at all times relevant to this complaint.
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        5. Defendants are engaged in the collection of debts from consumers using the mail and

telephone. Defendants regularly attempt to collect consumer debts alleged to be due to another.

Defendants are “debt collectors” as defined by the FDCPA, 15 U.S.C. § 1692a(6).

        6. By correspondence on the letterhead of National Credit Systems, Inc., dated

November 17, 2008, Defendant Simone Smith mailed a collection letter to Plaintiff demanding

payment of a debt in the amount of $5,520.00 allegedly due Grove at Mobile.

        7. The alleged debt of Plaintiff claimed was incurred for personal, family or household

services, i.e. amounts alleged due under invalid rental agreement for Plaintiff’s dependant.

        8. Plaintiff, through counsel, then contacted Defendant National Credit Systems, Inc.

disputing the validity of and asking for, among other things, for verification of the alleged debt.

        9. Despite receiving said correspondence, Defendants knowing that Plaintiff had retained

an attorney concerning the alleged debt, continued to contact Plaintiff directly.

        10. That Defendants, during these subsequent contacts threatened to “ruin” the Plaintiffs

credit if he did not agree to make payments or settle the alleged debt.

        11. As a result of the acts alleged above, Plaintiff suffered embarrassment, humiliation,

intimidation, denial of credit and a reduced credit rating. Moreover, Plaintiff has suffered issues

related with his livelihood as the collection of the alleged debt has called into scrutiny his

standing and licensure with the Securities and Exchange Commission (SEC).

        12. Defendants violated the FDCPA. Defendants’ violations include, but are not limited

to the following:

        -           Continuing to communicate with a consumer in connection with the collection

                    of any debt knowing that the consumer is represented by an attorney with

                    respect to such debt and having that attorney’s contact information. 15 U.S.C. §

                    1692c(2)

        -           The use or threat of use of violence or other criminal means to harm the

                    physical person, reputation, or property of any person. 15 U.S.C. § 1692d(1)
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        -        The use of obscene or profane language or language the natural consequence of

                 which is to abuse the hearer of reader. 15 U.S.C. § 1692d(2)

        13. As a result of the foregoing violations of the FDCPA, Defendants are liable to the

Plaintiff for declaratory judgment that Defendants’ conduct violated the FDCPA, actual damages,

statutory damages, and costs and attorney fees.

        WHEREFORE, Plaintiff, Eric D. Roth, Jr., respectfully requests that judgment be entered

against Defendant, National Credit Systems, Inc., for the following:

        A. Declaratory judgment the Defendants’ conduct violated the FDCPA;

        B. Actual damages;

        C. Statutory damages, pursuant to 15 U.S.C. § 1692k;

        D. Costs and reasonable attorney fees pursuant to 15 U.S.C. §§ 1692k; and

        E. For such other and further relief as the Court may deem just and proper.

RESPECTFULLY SUBMITTED THIS 23RD DAY OF SEPTEMBER, 2010.

                                                  BREEZE, ROBERTS, PONDER-BATES,
                                                  WOOTEN & ZIMMER, LLC

                                                           /s/ Adam G. Breeze
                                                  By:____________________________
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